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USDC SDNY

UNITED STATES DISTRICT COURT DOCUMENT

SOUTHERN DISTRICT OF NEW YORK ELEC TRONICALLY FILED
NLI HOLDINGS, LLC DOC #:

d/b/a NATIONAL LAMPOON DATE FILED: 1/11/2021

 

Plaintiff,
-against-

20 Civ. 9292 (AT)

EVAN SHAPIRO, JILL SHAPIRO,
ESHAP LLC a/k/a ESHAPTV/ESHAP LLC, and ORDER
LGA PRODUCTIONS, LLC,

 

Defendants.
ANALISA TORRES, District Judge:

 

The Court has reviewed the parties’ pre-motion letters dated December 29, 2020, amd January
6 and 7, 2021, ECF Nos. 15, 18-19. Accordingly,

Defendants’ request for leave to file a motion to dismiss is GRANTED;
By February 15, 2021, Defendants shall file their motion to dismiss;
By March 8, 2021, Plaintiff shall file its opposition;

By March 22, 2021, Defendants shall file their opposition, if any.

PWNPr

The Clerk of Court is directed to terminate the motion at ECF No. 15.
SO ORDERED.

Dated: January 11, 2021
New York, New York

On

ANALISA TORRES
United States District Judge
